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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                                                    Case No.: 1:15-cv-24547-UU

 LUIS A. ORTIZ, et al.,

 Plaintiffs,

 v.

 VALLEYCREST LANDSCAPE
 MAINTENANCE, INC.

 Defendant.
 ________________________________________/

                      ORDER GRANTING JOINT MOTION TO
                 APPROVE THE PARTIES’ SETTLEMENT AGREEMENT

         THIS CAUSE is before the Court upon the parties’ Joint Motion for Entry of Order

 Approving Settlement and Dismissing the Case with Prejudice, D.E. 23, filed April 21, 2016.

         THE COURT has considered the Motion, the pertinent portions of the record and is

 otherwise fully advised in the premises.     This is a collective FLSA action arising out of

 Plaintiffs’ employment with Defendant Valleycrest Landscape Maintenance, Inc.              D.E. 1.

 Plaintiffs filed its Complaint on December 10, 2015, alleging that Defendant failed to pay

 Plaintiffs minimum wage and overtime compensation, in violation of the Fair Labor Standards

 Act, 29 U.S.C. § 201, et seq. (“FLSA”). Id. The parties have now reached a settlement and seek

 approval of their Settlement Agreement, attached as an exhibit to the Motion. D.E. 23-1.

         The Court has reviewed the Settlement Agreement and finds it to be a fair and reasonable

 resolution of the parties’ dispute. See Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,

 1354 (11th Cir. 1982). The Court, however, passes no judgment on the enforceability of the

 agreement’s confidentiality provision. D.E. 23-1 ¶ 6. Accordingly, it is
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         ORDERED AND ADJUDGED that the Motion, D.E. 23, is GRANTED; the Settlement

 Agreement, D.E. 23-1, is APPROVED and the case is DISMISSED WITH PREJUDICE. The

 Court retains jurisdiction to enforce the terms of the parties’ Settlement Agreement.

         DONE AND ORDERED in Chambers at Miami, Florida this _21st____ day of April,
 2016.

                                            __________________________________
                                            URSULA UNGARO
                                            UNITED STATES DISTRICT JUDGE
 copies provided: counsel of record




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